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                           CENTRAL DISTRICT OF CALIFORNIA
13                               WESTERN DIVISION
14
15   KEVIN HELMUTH,                         ) Case No. 2:20-CV-07797-RAO
              Plaintiff,                    ) [PROPOSED] ORDER AWARDING
16                                          ) EQUAL ACCESS TO JUSTICE
     vs.
17                                          ) ACT ATTORNEY FEES AND
     KILOLO KIJAKAZI, Acting                ) EXPENSES, PURSUANT TO 28
18
     Commissioner of Social Security,       ) U.S.C. § 2412(d), AND COSTS
19                                          ) PURSUANT TO 28 U.S.C. § 1920
              Defendant.                    )
20   _______________________________ )
21        Based upon the parties’ Stipulation for the Award and Payment of Equal Access
22   to Justice Act Fees, Costs, and Expenses, IT IS ORDERED that fees and expenses in
23   the amount of $6,745.00 as authorized by 28 U.S.C. § 2412 and $0.00 costs under 28
24   U.S.C. § 1920 be awarded subject to the terms of the Stipulation.
25
26   DATED: November 1, 2021
                                           HONORABLE ROZELLA A. OLIVER
27                                         UNITED STATES MAGISTRATE JUDGE
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